          Case 2:22-bk-10061-BR                              Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                   Desc
                                                             Main Document     Page 1 of 40




Fill in this informatien te identity the case:

Debtor name         12th & K St. Mall Partners, LLC

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number      (it known)    2:22-bk-i 0061-BR
                                                                                                                              o   Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12)15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING--Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in tines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. § 152, 1341,
1519, and 3571.



               Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        •        Schedule A’B: Assets—Rea/ and Personal Property (Official Form 206NB)
        •        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        •        Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 206E1F)
        •        Schedule G: Executory Contracts and Unexpired Leases (Official Form 2060)
        •        Schedule H: Codebtors (Official Form 206H)
        •        Summary of Assets and Liabilities for Non-Individuals (Official Form 2O6Sum)

        x
        0        Amended Schedule        Amended Creditors Holding 20 Largest Unsecured Claims
        0        Chapter II or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)
        0        Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is trot

        Executed on           January 20, 2022                     X


                                                                       Robert W. Clippinger
                                                                       Printed name

                                                                       Manaqinq Member
                                                                       Position or relationship to debtor




Official Form 202                                           Declaration under Penalty of Perjury for Non-Individual Debtors
software Copyright (C) 19%-2021 Real Case. LLC -www beslcase.com                                                                            Best Case Bankruptcy
             Case 2:22-bk-10061-BR                                         Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                                                     Desc
                                                                           Main Document     Page 2 of 40
 Fill in this information to identify the case:

 Debtor name            12th & K St. Mall Partners, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)               2:22-bk-10061-BR
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       15,925,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           875,580.93

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       16,800,580.93


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       14,584,104.38


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                273.55

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           272,449.28


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,856,827.21




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
            Case 2:22-bk-10061-BR                             Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                    Desc
                                                              Main Document     Page 3 of 40
 Fill in this information to identify the case:

 Debtor name         12th & K St. Mall Partners, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:22-bk-10061-BR
                                                                                                                                         Check if this is an
                                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                         debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                               Last 4 digits of account
                                                                                                              number


           3.1.     First Republic                                           Checking account                 7045                                    $12,646.71



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                       $12,646.71
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.               See attached list

 11.       Accounts receivable
           11a. 90 days old or less:                            141,185.20    -                                0.00 = ....                          $141,185.20
                                              face amount                         doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                 page 1
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                                                              Main Document     Page 4 of 40
 Debtor         12th & K St. Mall Partners, LLC                                                    Case number (If known) 2:22-bk-10061-BR
                Name


           11b. Over 90 days old:                               721,749.02    -                                  0.00 =....                   $721,749.02
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                               $862,934.22
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and              Net book value of         Valuation method used   Current value of
           property                                       extent of               debtor's interest         for current value       debtor's interest
           Include street address or other                debtor's interest       (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                Case 2:22-bk-10061-BR                Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29             Desc
Aged Receivable Detail                                               Main Document     Page 5 of 40
Properties: The Cathedral Building - 1020 12th St Sacramento, CA 95814
Amount Receivable: Exclude 0.00
Tenant Status: Current and Notice
As of: 01/31/2022
                            Charge     Posting    GL Account                                                 Amount
Payer Name                                                       GL Account Name          Total Amount                    0-30    31-60   61-90       91+
                             Date       Date      Number                                                   Receivable
 The Cathedral Building - 1020 12th St Sacramento, CA 95814 - Unit 100 - Ellajack, Inc.
Ellajack, Inc.            10/01/2020 10/01/2020 4210             CAM Charges                    5,748.08       3,342.41   0.00     0.00    0.00    3,342.41
Ellajack, Inc.            11/01/2020 11/01/2020 4370             Storage                         480.00         480.00    0.00     0.00    0.00     480.00
Ellajack, Inc.            11/01/2020 11/01/2020 4110             Base Rent                     35,495.79      35,495.79   0.00     0.00    0.00   35,495.79
Ellajack, Inc.            11/01/2020 11/01/2020 5156             Tenant expense                 1,635.10       1,635.10   0.00     0.00    0.00    1,635.10
Ellajack, Inc.            11/01/2020 11/01/2020 4210             CAM Charges                    5,748.08       5,748.08   0.00     0.00    0.00    5,748.08
Ellajack, Inc.            12/01/2020 12/01/2020 4370             Storage                         480.00         480.00    0.00     0.00    0.00     480.00
Ellajack, Inc.            12/01/2020 12/01/2020 4110             Base Rent                     35,495.79      35,495.79   0.00     0.00    0.00   35,495.79
Ellajack, Inc.            12/01/2020 12/01/2020 5156             Tenant expense                 1,635.10       1,635.10   0.00     0.00    0.00    1,635.10
Ellajack, Inc.            12/01/2020 12/01/2020 4210             CAM Charges                    5,748.08       5,748.08   0.00     0.00    0.00    5,748.08
Ellajack, Inc.            01/01/2021 01/01/2021 4370             Storage                         480.00         480.00    0.00     0.00    0.00     480.00
Ellajack, Inc.            01/01/2021 01/01/2021 5156             Tenant expense                 1,635.10       1,635.10   0.00     0.00    0.00    1,635.10
Ellajack, Inc.            01/01/2021 01/01/2021 4210             CAM Charges                    5,748.08       5,748.08   0.00     0.00    0.00    5,748.08
Ellajack, Inc.            01/01/2021 01/01/2021 4110             Base Rent                     35,495.79      35,495.79   0.00     0.00    0.00   35,495.79
Ellajack, Inc.            02/01/2021 02/01/2021 4370             Storage                         480.00         480.00    0.00     0.00    0.00     480.00
Ellajack, Inc.            02/01/2021 02/01/2021 5156             Tenant expense                 1,635.10       1,635.10   0.00     0.00    0.00    1,635.10
Ellajack, Inc.            02/01/2021 02/01/2021 4210             CAM Charges                    5,748.08       5,748.08   0.00     0.00    0.00    5,748.08
Ellajack, Inc.            02/01/2021 02/01/2021 4110             Base Rent                     35,495.79      35,495.79   0.00     0.00    0.00   35,495.79
Ellajack, Inc.            03/01/2021 03/01/2021 4370             Storage                         480.00         480.00    0.00     0.00    0.00     480.00
Ellajack, Inc.            03/01/2021 03/01/2021 5156             Tenant expense                 1,635.10       1,635.10   0.00     0.00    0.00    1,635.10
Ellajack, Inc.            03/01/2021 03/01/2021 4210             CAM Charges                    5,748.08       5,748.08   0.00     0.00    0.00    5,748.08
Ellajack, Inc.            03/01/2021 03/01/2021 4110             Base Rent                     35,495.79      35,495.79   0.00     0.00    0.00   35,495.79
Ellajack, Inc.            04/01/2021 04/01/2021 4370             Storage                         480.00         480.00    0.00     0.00    0.00     480.00
Ellajack, Inc.            04/01/2021 04/01/2021 5156             Tenant expense                 1,635.10       1,635.10   0.00     0.00    0.00    1,635.10
Ellajack, Inc.            04/01/2021 04/01/2021 4210             CAM Charges                    5,748.08       5,748.08   0.00     0.00    0.00    5,748.08
Ellajack, Inc.            04/01/2021 04/01/2021 4110             Base Rent                     35,495.79      35,495.79   0.00     0.00    0.00   35,495.79
Ellajack, Inc.            05/01/2021 05/01/2021 4370             Storage                         480.00         480.00    0.00     0.00    0.00     480.00
Ellajack, Inc.            05/01/2021 05/01/2021 4110             Base Rent                     35,495.79      35,495.79   0.00     0.00    0.00   35,495.79
Ellajack, Inc.            05/01/2021 05/01/2021 5156             Tenant expense                 1,635.10       1,635.10   0.00     0.00    0.00    1,635.10
Ellajack, Inc.            05/01/2021 05/01/2021 4210             CAM Charges                    5,748.08       5,748.08   0.00     0.00    0.00    5,748.08



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                             Case 2:22-bk-10061-BR            Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29            Desc
Aged Receivable Detail                                        Main Document     Page 6 of 40
                         Charge     Posting   GL Account                                        Amount
Payer Name                                                 GL Account Name   Total Amount                       0-30      31-60     61-90          91+
                          Date       Date     Number                                          Receivable
Ellajack, Inc.          06/01/2021 06/01/2021 4370         Storage                  480.00         480.00         0.00     0.00        0.00      480.00
Ellajack, Inc.          06/01/2021 06/01/2021 4110         Base Rent              35,495.79      35,495.79        0.00     0.00        0.00    35,495.79
Ellajack, Inc.          06/01/2021 06/01/2021 5156         Tenant expense          1,635.10       1,635.10        0.00     0.00        0.00     1,635.10
Ellajack, Inc.          06/01/2021 06/01/2021 4210         CAM Charges             5,748.08       5,748.08        0.00     0.00        0.00     5,748.08
Ellajack, Inc.          07/01/2021 07/01/2021 4370         Storage                  480.00         480.00         0.00     0.00        0.00      480.00
Ellajack, Inc.          07/01/2021 07/01/2021 4110         Base Rent              35,495.79      35,495.79        0.00     0.00        0.00    35,495.79
Ellajack, Inc.          07/01/2021 07/01/2021 5156         Tenant expense          1,635.10       1,635.10        0.00     0.00        0.00     1,635.10
Ellajack, Inc.          07/01/2021 07/01/2021 4210         CAM Charges             5,748.08       5,748.08        0.00     0.00        0.00     5,748.08
Ellajack, Inc.          08/01/2021 08/01/2021 4370         Storage                  480.00         480.00         0.00     0.00        0.00      480.00
Ellajack, Inc.          08/01/2021 08/01/2021 4110         Base Rent              35,495.79      35,495.79        0.00     0.00        0.00    35,495.79
Ellajack, Inc.          08/01/2021 08/01/2021 5156         Tenant expense          1,635.10       1,635.10        0.00     0.00        0.00     1,635.10
Ellajack, Inc.          08/01/2021 08/01/2021 4210         CAM Charges             5,748.08       5,748.08        0.00     0.00        0.00     5,748.08
Ellajack, Inc.          09/01/2021 09/01/2021 4370         Storage                  480.00         480.00         0.00     0.00        0.00      480.00
Ellajack, Inc.          09/01/2021 09/01/2021 4110         Base Rent              35,495.79      35,495.79        0.00     0.00        0.00    35,495.79
Ellajack, Inc.          09/01/2021 09/01/2021 5156         Tenant expense          1,635.10       1,635.10        0.00     0.00        0.00     1,635.10
Ellajack, Inc.          09/01/2021 09/01/2021 4210         CAM Charges             5,748.08       5,748.08        0.00     0.00        0.00     5,748.08
Ellajack, Inc.          10/01/2021 10/01/2021 4370         Storage                  480.00         480.00         0.00     0.00        0.00      480.00
Ellajack, Inc.          10/01/2021 10/01/2021 5156         Tenant expense          1,635.10       1,635.10        0.00     0.00        0.00     1,635.10
Ellajack, Inc.          10/01/2021 10/01/2021 4210         CAM Charges             5,748.08       5,748.08        0.00     0.00        0.00     5,748.08
Ellajack, Inc.          10/01/2021 12/22/2021 4110         Base Rent              53,243.69      53,243.69        0.00     0.00        0.00    53,243.69
Ellajack, Inc.          10/04/2021 12/23/2021 4110         Base Rent              43,358.97      43,358.97        0.00     0.00        0.00    43,358.97
Ellajack, Inc.          11/01/2021 11/01/2021 4370         Storage                  480.00         480.00         0.00     0.00        0.00      480.00
Ellajack, Inc.          11/01/2021 11/01/2021 5156         Tenant expense          1,635.10       1,635.10        0.00     0.00        0.00     1,635.10
Ellajack, Inc.          11/01/2021 11/01/2021 4210         CAM Charges             5,748.08       5,748.08        0.00     0.00        0.00     5,748.08
Ellajack, Inc.          11/01/2021 12/22/2021 4110         Base Rent              53,243.69      53,243.69        0.00     0.00        0.00    53,243.69
Ellajack, Inc.          12/01/2021 12/01/2021 4370         Storage                  480.00         480.00         0.00     0.00     480.00          0.00
Ellajack, Inc.          12/01/2021 12/01/2021 5156         Tenant expense          1,635.10       1,635.10        0.00     0.00    1,635.10         0.00
Ellajack, Inc.          12/01/2021 12/01/2021 4210         CAM Charges             5,748.08       5,748.08        0.00     0.00    5,748.08         0.00
Ellajack, Inc.          12/01/2021 12/22/2021 4110         Base Rent              53,243.69      53,243.69        0.00     0.00   53,243.69         0.00
Ellajack, Inc.          01/01/2022 01/01/2022 4370         Storage                  480.00         480.00      480.00      0.00        0.00         0.00
Ellajack, Inc.          01/01/2022 01/01/2022 5156         Tenant expense          1,635.10       1,635.10    1,635.10     0.00        0.00         0.00
Ellajack, Inc.          01/01/2022 01/01/2022 4210         CAM Charges             5,748.08       5,748.08    5,748.08     0.00        0.00         0.00
Ellajack, Inc.          01/01/2022 01/05/2022 4110         Base Rent              53,243.69      53,243.69   53,243.69     0.00        0.00         0.00
                                                                                 770,483.20     768,077.53   61,106.87     0.00   61,106.87   645,863.79


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Aged Receivable Detail                                             Main Document     Page 7 of 40
                           Charge     Posting   GL Account                                                   Amount
Payer Name                                                     GL Account Name           Total Amount                    0-30    31-60   61-90      91+
                            Date       Date     Number                                                     Receivable

 The Cathedral Building - 1020 12th St Sacramento, CA 95814 - Unit 110 - The Karmic Leaf, LLC
The Karmic Leaf, LLC     06/12/2020 06/12/2020 4210            CAM Charges                      1,253.05      1,253.05   0.00     0.00    0.00   1,253.05
The Karmic Leaf, LLC     09/01/2020 09/01/2020 4355            Parking                           175.00         175.00   0.00     0.00    0.00    175.00
The Karmic Leaf, LLC     09/16/2020 09/16/2020 2332            Key FOB Deposit                    50.00          50.00   0.00     0.00    0.00     50.00
The Karmic Leaf, LLC     09/24/2020 10/11/2021 4110            Base Rent                        3,759.15      1,518.30   0.00     0.00    0.00   1,518.30
The Karmic Leaf, LLC     09/24/2020 10/11/2021 4210            CAM Charges                      1,253.05      1,253.05   0.00     0.00    0.00   1,253.05
The Karmic Leaf, LLC     10/01/2020 10/01/2020 4355            Parking                           175.00         175.00   0.00     0.00    0.00    175.00
The Karmic Leaf, LLC     10/01/2020 10/11/2021 4210            CAM Charges                       334.15         334.15   0.00     0.00    0.00    334.15
The Karmic Leaf, LLC     10/01/2020 10/11/2021 4110            Base Rent                        1,002.44      1,002.44   0.00     0.00    0.00   1,002.44
The Karmic Leaf, LLC     10/06/2020 10/11/2021 4340            Late Fee                          576.10         576.10   0.00     0.00    0.00    576.10
The Karmic Leaf, LLC     10/27/2020 10/11/2021 4350            NSF Fee                           250.00         250.00   0.00     0.00    0.00    250.00
The Karmic Leaf, LLC     11/01/2020 11/01/2020 4110            Base Rent                        3,759.15      3,759.15   0.00     0.00    0.00   3,759.15
The Karmic Leaf, LLC     11/01/2020 11/01/2020 4355            Parking                           175.00         175.00   0.00     0.00    0.00    175.00
The Karmic Leaf, LLC     11/01/2020 10/11/2021 4210            CAM Charges                      1,253.05      1,253.05   0.00     0.00    0.00   1,253.05
The Karmic Leaf, LLC     11/06/2020 10/11/2021 4340            Late Fee                          543.72         543.72   0.00     0.00    0.00    543.72
The Karmic Leaf, LLC     12/01/2020 12/01/2020 4110            Base Rent                        3,759.15      3,759.15   0.00     0.00    0.00   3,759.15
The Karmic Leaf, LLC     12/01/2020 12/01/2020 4355            Parking                           175.00         175.00   0.00     0.00    0.00    175.00
The Karmic Leaf, LLC     12/01/2020 10/11/2021 4210            CAM Charges                      1,253.05      1,253.05   0.00     0.00    0.00   1,253.05
The Karmic Leaf, LLC     12/06/2020 10/11/2021 4340            Late Fee                          573.09         573.09   0.00     0.00    0.00    573.09
The Karmic Leaf, LLC     01/01/2021 01/01/2021 4110            Base Rent                        3,759.15      3,759.15   0.00     0.00    0.00   3,759.15
The Karmic Leaf, LLC     01/01/2021 01/01/2021 4355            Parking                           175.00         175.00   0.00     0.00    0.00    175.00
The Karmic Leaf, LLC     02/01/2021 02/01/2021 4210            CAM Charges                      1,253.05      1,253.05   0.00     0.00    0.00   1,253.05
The Karmic Leaf, LLC     02/01/2021 02/01/2021 4110            Base Rent                        3,759.15      3,759.15   0.00     0.00    0.00   3,759.15
The Karmic Leaf, LLC     02/01/2021 02/01/2021 4355            Parking                           175.00         175.00   0.00     0.00    0.00    175.00
The Karmic Leaf, LLC     02/06/2021 10/11/2021 4340            Late Fee                          576.03         576.03   0.00     0.00    0.00    576.03
The Karmic Leaf, LLC     03/01/2021 03/01/2021 4210            CAM Charges                      1,253.05      1,253.05   0.00     0.00    0.00   1,253.05
The Karmic Leaf, LLC     03/01/2021 03/01/2021 4110            Base Rent                        3,759.15      3,759.15   0.00     0.00    0.00   3,759.15
The Karmic Leaf, LLC     03/01/2021 03/01/2021 4355            Parking                           175.00         175.00   0.00     0.00    0.00    175.00
The Karmic Leaf, LLC     04/01/2021 04/01/2021 4210            CAM Charges                      1,253.05      1,253.05   0.00     0.00    0.00   1,253.05
The Karmic Leaf, LLC     04/01/2021 04/01/2021 4110            Base Rent                        3,759.15      3,759.15   0.00     0.00    0.00   3,759.15
The Karmic Leaf, LLC     04/01/2021 04/01/2021 4355            Parking                           175.00         175.00   0.00     0.00    0.00    175.00
The Karmic Leaf, LLC     05/01/2021 05/01/2021 4210            CAM Charges                      1,253.05      1,253.05   0.00     0.00    0.00   1,253.05
The Karmic Leaf, LLC     05/01/2021 05/01/2021 4110            Base Rent                        3,759.15      3,759.15   0.00     0.00    0.00   3,759.15



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                                Case 2:22-bk-10061-BR               Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                      Desc
Aged Receivable Detail                                              Main Document     Page 8 of 40
                           Charge      Posting   GL Account                                                      Amount
Payer Name                                                       GL Account Name           Total Amount                         0-30      31-60     61-90         91+
                            Date        Date     Number                                                        Receivable
The Karmic Leaf, LLC      05/01/2021 05/01/2021 4355             Parking                             175.00         175.00        0.00      0.00       0.00     175.00
The Karmic Leaf, LLC      05/06/2021 10/11/2021 4340             Late Fee                            576.32         576.32        0.00      0.00       0.00     576.32
The Karmic Leaf, LLC      06/01/2021 06/01/2021 4210             CAM Charges                        1,253.05       1,253.05       0.00      0.00       0.00    1,253.05
The Karmic Leaf, LLC      06/01/2021 06/01/2021 4110             Base Rent                          3,759.15       3,759.15       0.00      0.00       0.00    3,759.15
The Karmic Leaf, LLC      07/01/2021 07/01/2021 4210             CAM Charges                        1,253.05       1,253.05       0.00      0.00       0.00    1,253.05
The Karmic Leaf, LLC      07/01/2021 07/01/2021 4110             Base Rent                          3,759.15       3,759.15       0.00      0.00       0.00    3,759.15
The Karmic Leaf, LLC      08/01/2021 08/01/2021 4210             CAM Charges                        1,253.05       1,253.05       0.00      0.00       0.00    1,253.05
The Karmic Leaf, LLC      08/01/2021 08/01/2021 4110             Base Rent                          3,759.15       3,759.15       0.00      0.00       0.00    3,759.15
The Karmic Leaf, LLC      08/06/2021 10/11/2021 4340             Late Fee                            558.85         558.85        0.00      0.00       0.00     558.85
The Karmic Leaf, LLC      09/01/2021 09/01/2021 4210             CAM Charges                        1,253.05       1,253.05       0.00      0.00       0.00    1,253.05
The Karmic Leaf, LLC      09/01/2021 09/01/2021 4110             Base Rent                          3,759.15       3,759.15       0.00      0.00       0.00    3,759.15
The Karmic Leaf, LLC      09/06/2021 10/11/2021 4340             Late Fee                            557.11         557.11        0.00      0.00       0.00     557.11
The Karmic Leaf, LLC      10/01/2021 10/01/2021 4210             CAM Charges                        1,253.05       1,253.05       0.00      0.00       0.00    1,253.05
The Karmic Leaf, LLC      10/01/2021 10/01/2021 4110             Base Rent                          3,871.92       3,871.92       0.00      0.00       0.00    3,871.92
The Karmic Leaf, LLC      10/06/2021 10/12/2021 4340             Late Fee                            556.93         556.93        0.00      0.00       0.00     556.93
The Karmic Leaf, LLC      11/01/2021 11/01/2021 4210             CAM Charges                        1,253.05       1,253.05       0.00      0.00       0.00    1,253.05
The Karmic Leaf, LLC      11/01/2021 11/01/2021 4110             Base Rent                          3,871.92       3,871.92       0.00      0.00       0.00    3,871.92
The Karmic Leaf, LLC      12/01/2021 12/01/2021 4210             CAM Charges                        1,253.05       1,253.05       0.00      0.00   1,253.05        0.00
The Karmic Leaf, LLC      12/01/2021 12/01/2021 4110             Base Rent                          3,871.92       3,871.92       0.00      0.00   3,871.92        0.00
The Karmic Leaf, LLC      01/01/2022 01/01/2022 4210             CAM Charges                        1,253.05       1,253.05   1,253.05      0.00       0.00        0.00
The Karmic Leaf, LLC      01/01/2022 01/01/2022 4110             Base Rent                          3,871.92       3,871.92   3,871.92      0.00       0.00        0.00
                                                                                                   88,376.02      86,135.17   5,124.97      0.00   5,124.97   75,885.23

 The Cathedral Building - 1020 12th St Sacramento, CA 95814 - Unit 402 - Ortiz, Jesus (Jesse) R.
Ortiz, Jesus (Jesse) R.   11/24/2021 11/26/2021 5142             Locksmith & Security                 25.00          25.00        0.00      0.00     25.00         0.00
Ortiz, Jesus (Jesse) R.   12/01/2021 11/16/2021 4355             Parking                             175.00         175.00        0.00      0.00    175.00         0.00
Ortiz, Jesus (Jesse) R.   12/01/2021 12/01/2021 4110             Base Rent                          1,695.00       1,695.00       0.00      0.00   1,695.00        0.00
Ortiz, Jesus (Jesse) R.   12/04/2021 12/16/2021 4340             Late Fee                             80.00          80.00        0.00     80.00       0.00        0.00
Ortiz, Jesus (Jesse) R.   01/01/2022 01/01/2022 4110             Base Rent                          1,695.00       1,695.00   1,695.00      0.00       0.00        0.00
Ortiz, Jesus (Jesse) R.   01/01/2022 01/01/2022 4355             Parking                             175.00         175.00     175.00       0.00       0.00        0.00
Ortiz, Jesus (Jesse) R.   01/04/2022 01/05/2022 4340             Late Fee                             80.00          80.00      80.00       0.00       0.00        0.00
                                                                                                    3,925.00       3,925.00   1,950.00     80.00   1,895.00        0.00

 The Cathedral Building - 1020 12th St Sacramento, CA 95814 - Unit BS01 Cathedral Storage - Flores, Erika
Flores, Erika             01/04/2022 01/04/2022 4110             Base Rent                           150.00         100.00     100.00       0.00       0.00        0.00



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                           Case 2:22-bk-10061-BR          Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29             Desc
Aged Receivable Detail                                    Main Document     Page 9 of 40
                        Charge   Posting   GL Account                                        Amount
Payer Name                                              GL Account Name   Total Amount                       0-30      31-60      61-90          91+
                         Date     Date     Number                                          Receivable


Total                                                                         862,934.22     858,237.70   68,281.84     80.00   68,126.84   721,749.02




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            Case 2:22-bk-10061-BR                             Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                     Desc
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 Debtor         12th & K St. Mall Partners, LLC                                              Case number (If known) 2:22-bk-10061-BR
                Name

            55.1.    Mixed-use property
                     located at 1020 12th
                     Street Sacramento, CA
                     95814; APN
                     006-0105-009-0000;
                     35 rental spaces;
                     ground floor consists of
                     commercial retail
                     space, the largest
                     commercial retail
                     tenant occupies a
                     portion of the ground
                     floor and a portion of
                     the second floor, the
                     remaining portion of
                     the second floor
                     consists of office
                     space, the third and
                     fourth floors consist of
                     23 loft style residential
                     units; property is 97%
                     occupied.                            Fee simple                        $0.00                                 $15,925,000.00




 56.        Total of Part 9.                                                                                                    $15,925,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
             Case 2:22-bk-10061-BR                                 Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                                  Desc
                                                                   Main Document    Page 11 of 40
 Debtor          12th & K St. Mall Partners, LLC                                                                     Case number (If known) 2:22-bk-10061-BR
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $12,646.71

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $862,934.22

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $15,925,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $875,580.93           + 91b.           $15,925,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $16,800,580.93




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
            Case 2:22-bk-10061-BR                             Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                         Desc
                                                              Main Document    Page 12 of 40
 Fill in this information to identify the case:

 Debtor name         12th & K St. Mall Partners, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)             2:22-bk-10061-BR
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   City of Sacramento                             Describe debtor's property that is subject to a lien               $2,300,000.00           $17,500,000.00
       Creditor's Name                                Mixed-use property located at 1020 12th Street
                                                      Sacramento, CA 95814; APN
                                                      006-0105-009-0000; 35 rental spaces; ground
                                                      floor consists of commercial retail space, the
       Attn: Leslie Fritzsche                         largest commercial retail tenant occupies a
       1030 15th Street, 2nd FL                       portion of the ground floor and
       Sacramento, CA 95814
       Creditor's mailing address                     Describe the lien
                                                      Second Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. DCR Mortgage 10 Sub 2,
       LLC
       2. City of Sacramento

       DCR Mortgage 10 Sub 2,
 2.2                                                                                                                   $12,284,104.38            $17,500,000.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Mixed-use property located at 1020 12th Street
                                                      Sacramento, CA 95814; APN
       Directed Capital Resources                     006-0105-009-0000; 35 rental spaces; ground
       Attn: Lance B Amano                            floor consists of commercial retail space, the
       10650 Scripps Ranch Blvd.,                     largest commercial retail tenant occupies a
       Ste 210                                        portion of the ground floor and
       San Diego, CA 92131
       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 2:22-bk-10061-BR                            Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                       Desc
                                                              Main Document    Page 13 of 40
 Debtor       12th & K St. Mall Partners, LLC                                                         Case number (if known)       2:22-bk-10061-BR
              Name

        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

        Sacramento County Tax
 2.3                                                                                                                                 $0.00     $17,000,000.00
        Collector                                     Describe debtor's property that is subject to a lien
        Creditor's Name                               1020 12th Street, Sacramento, CA 95814
        PO Box 508
        Sacramento, CA 95812-0508
        Creditor's mailing address                    Describe the lien
                                                      Property Taxes
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $14,584,104.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        38

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         DCR Mortgage 10 Sub 3, LLC
         Jennifer L. Pruski, Esquire                                                                            Line   2.2
         Trainor Fairbrook
         Post Office Box 255824
         Sacramento, CA 95865




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             Case 2:22-bk-10061-BR                            Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                           Desc
                                                              Main Document    Page 14 of 40
 Fill in this information to identify the case:

 Debtor name         12th & K St. Mall Partners, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)           2:22-bk-10061-BR
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           California Dept of Tax and Fee Admi                       Check all that apply.
           Special Ops, MIC 29                                          Contingent
           PO Box 942879                                                Unliquidated
           Sacramento, CA 94279-0005                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Employment Developement Dept                              Check all that apply.
           Bankruptcy Group MIC 92E                                     Contingent
           PO Box 826806                                                Unliquidated
           Sacramento, CA 94206-0001                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 12
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                   28141                               Best Case Bankruptcy
             Case 2:22-bk-10061-BR                            Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                                      Desc
                                                              Main Document    Page 15 of 40
 Debtor       12th & K St. Mall Partners, LLC                                                                 Case number (if known)          2:22-bk-10061-BR
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $273.55    $0.00
           Franchise Tax Board                                       Check all that apply.
           Bankruptcy Section MS: A-340                                 Contingent
           P.O. Box 2952                                                Unliquidated
           Sacramento, CA 95812-2952                                    Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                         $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $85.43
           600 12th Street                                                             Contingent
           4910 W 1st Street                                                           Unliquidated
           Los Angeles, CA 90004                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $325.00
           A Better Plumbing Co., Inc.                                                 Contingent
           PO Box 161267                                                               Unliquidated
           Sacramento, CA 95816                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Services rendered
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $3,800.00
           ABM Parking                                                                 Contingent
           1100 J Street                                                               Unliquidated
           Sacramento, CA 95814                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 12
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            Case 2:22-bk-10061-BR                             Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                         Desc
                                                              Main Document    Page 16 of 40
 Debtor       12th & K St. Mall Partners, LLC                                                         Case number (if known)            2:22-bk-10061-BR
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,832.99
          Air Systems Service & Construction                                    Contingent
          10381 Old Placerville Road, #100                                      Unliquidated
          Sacramento, CA 95827                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $245.00
          Alltech Gates & Entry Controls, Inc                                   Contingent
          5325 Elkhorn Blvd., Ste. 314                                          Unliquidated
          Sacramento, CA 95842                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Alvarado Smith                                                        Contingent
          1 MacArthur Place                                                     Unliquidated
          Santa Ana, CA 92707                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $466.56
          AT&T                                                                  Contingent
          PO Box 5025                                                           Unliquidated
          Carol Stream, IL 60197-5025                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Bank of Commerce                                                      Contingent
          Merchants Bank of Commerce                                            Unliquidated
          P.O. Box 994748                                                       Disputed
          Redding, CA 96099-4748
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,358.33
          Benjamin Rothchild                                                    Contingent
          700 Blomfiedl Ave. #549                                               Unliquidated
          Bloomfield, CT 06002-4244                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Former tenant
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carter, Doug                                                          Contingent
          130 Ascot Avenue                                                      Unliquidated
          Rio Linda, CA 95673                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chicago Trust Admin. Servcies LLC                                     Contingent
          FBO Mitch Argon 401-K                                                 Unliquidated
          40 E Chicago Avenue#148                                               Disputed
          Chicago, IL 60611
                                                                                              Notice only
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             0.4319% interest in12th & K St. Mall Partners, LLC which owns property at
          Last 4 digits of account number                                    1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chicago Trust Admin. Servcies LLC                                     Contingent
          FBO Maureen Argon 401-K                                               Unliquidated
          40 E Chicago Avenue#148                                               Disputed
          Chicago, IL 60611
                                                                                              Notice only
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             0.413% interest in12th & K St. Mall Partners, LLC which owns property at
          Last 4 digits of account number                                    1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,235.07
          City of Sacramento                                                    Contingent
          Dept of Utilities                                                     Unliquidated
          PO Box 2770                                                           Disputed
          Sacramento, CA 95812-2770
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $95,383.99
          Clippinger Investment PropertiesInc                                   Contingent
          4910 W. 1st Street                                                    Unliquidated
          Los Angeles, CA 90004                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,915.54
          Comcast Business                                                      Contingent
          9602 S 300 W                                                          Unliquidated
          Sandy, UT 84070-3340                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,250.23
          Comcast Cable                                                         Contingent
          9602 S 300 W                                                          Unliquidated
          Sandy, UT 84070-3340                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel & Julie Gray Trustees                                          Contingent
          of the Gray Living Trust 4/26/07                                      Unliquidated
          17 N. Pasture                                                         Disputed
          Westport, CT 06880
                                                                                              Notice only
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             1.7275% interest in12th & K St. Mall Partners, LLC which owns property at
          Last 4 digits of account number                                    1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes


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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Daniel A Bornstein& Linda Bornstein                                   Contingent
          Trustee of the Daneil & Linda                                         Unliquidated
          Bornstein Living Trust DTD 2.9.1996                                   Disputed
          5913 Featherlight Place
          Santa Rosa, CA 95409                                                                Notice only
                                                                             Basis for the claim:
                                                                             0.5182% interest in12th & K St. Mall Partners, LLC which owns property at
          Date(s) debt was incurred
                                                                             1020 12th St., Sacramento, CA
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,066.50
          Danielson Kim Law Group P.C.                                          Contingent
          5170 Golden Foothill Pkwy.                                            Unliquidated
          El Dorado Hills, CA 95762                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          David L Gilbert & Deborah L Gilbert                                   Contingent
          25021 Adelanto                                                        Unliquidated
          Laguna Niguel, CA 92677                                               Disputed
          Date(s) debt was incurred
                                                                                              Notice only
                                                                             Basis for the claim:
          Last 4 digits of account number                                    1.7275% interest in12th & K St. Mall Partners, LLC which owns property at
                                                                             1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,050.00
          Deodoro Ortiz                                                         Contingent
          Ortiz Cleaners                                                        Unliquidated
          123 Bell Avenue                                                       Disputed
          Sacramento, CA 95838
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $797.50
          Derrik A. Elder                                                       Contingent
          1404 Katelyn Court                                                    Unliquidated
          Yukon, OK 73099                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,732.41
          DLA Piper LLP                                                         Contingent
          2000 Avenue of the Stars, Ste. 400                                    Unliquidated
          Los Angeles, CA 90067                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,154.01
          Dry Creek Construction                                                Contingent
          425 Pine Street, Ste 1-F                                              Unliquidated
          Galt, CA 95632                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $190.00
          Eagle Carpet Care                                                     Contingent
          1354 Keswick Lane                                                     Unliquidated
          Lincoln, CA 95648                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $120.00
          Easy Clean Carpet Care                                                Contingent
          PO Box 22981                                                          Unliquidated
          Sacramento, CA 95822                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $675.00
          Elevator Technology, Inc                                              Contingent
          2050 Arroyo Vista Way                                                 Unliquidated
          El Dorado Hills, CA 95762                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.00
          Elliott, Lane                                                         Contingent
          1017 L Street                                                         Unliquidated
          Sacramento, CA 95814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,748.81
          Farmers Insurance Exchange                                            Contingent
          PO Box 2847                                                           Unliquidated
          Flint, MI 48501-2847                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $434.61
          Fast Signs                                                            Contingent
          1720 Fulton Avenue                                                    Unliquidated
          Sacramento, CA 95825                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $363.60
          Financial Credit Network                                              Contingent
          PO BOX 3064                                                           Unliquidated
          Visalia, CA 93278                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,073.02
          G. Rossi Florist                                                      Contingent
          1208 J Street                                                         Unliquidated
          Sacramento, CA 95814                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $125.10
          Global Gate Controls Inc                                              Contingent
          3531 S. Logan Street, Ste. D403                                       Unliquidated
          Englewood, CO 80113                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,870.37
          HD Supply Facilities MaintenanceLTD                                   Contingent
          PO Box 509058                                                         Unliquidated
          San Diego, CA 92150-9058                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,068.00
          Highlander Termite & Pest Control                                     Contingent
          3971 Duroch Road, Ste. C                                              Unliquidated
          Shingle Springs, CA 95682                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,026.33
          Industrial Door Company                                               Contingent
          10235 Systems Parkway, Ste. B                                         Unliquidated
          Sacramento, CA 95827                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          James Brother Cleaning                                                Contingent
          P.O. Box 69                                                           Unliquidated
          Elk Grove, CA 95759                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          John A & Sheila D. Valenzuela                                         Contingent
          Trustees of the Valenzuela Family                                     Unliquidated
          Trust DTD 9/12/96                                                     Disputed
          9 Cort Rivera
          San Clemente, CA 92673                                                              Notice only
                                                                             Basis for the claim:
                                                                             0.8637% interest in12th & K St. Mall Partners, LLC which owns property at
          Date(s) debt was incurred
                                                                             1020 12th St., Sacramento, CA
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Leslie R Olson, Trustee of the                                        Contingent
          Olson Family Trust DTD 1/3/2002                                       Unliquidated
          29 Hancock                                                            Disputed
          Laguna Niguel, CA 92677
                                                                                              Notice only
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             1.2092% interest in12th & K St. Mall Partners, LLC which owns property at
          Last 4 digits of account number                                    1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maintenance Supply Headquarters, LP                                   Contingent
          PO Box 509058                                                         Unliquidated
          San Diego, CA 92150-9058                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $60.00
          Megan Mobile Notary                                                   Contingent
          8943 Bertwin Way                                                      Unliquidated
          Elk Grove, CA 95758                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.00
          Melanie Hogue                                                         Contingent
          7541 Southwest 1st Street                                             Unliquidated
          Fort Lauderdale, FL 33317                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $160.00
          Morgan, Ray                                                           Contingent
          3131 Esplanade                                                        Unliquidated
          Chico, CA 95973                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,232.94
          National Fire Systems, Inc.                                           Contingent
          8521 Morrison Creek Drive                                             Unliquidated
          Sacramento, CA 95828                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $150.00
          Nikias Law, PC                                                        Contingent
          12026 Rhode Island Ave., PH2                                          Unliquidated
          Los Angeles, CA 90025                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $210.00
          Overhead Door Co. of Sacramento Inc                                   Contingent
          PO Box 231608                                                         Unliquidated
          Sacramento, CA 95823                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,490.00
          Pacific Properties Group                                              Contingent
          12100 Wilshire Blvd., Ste. 1050                                       Unliquidated
          Los Angeles, CA 90025                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,864.49
          Placer Floors, Inc.                                                   Contingent
          7333 Roseville Road, Ste. 1                                           Unliquidated
          Sacramento, CA 95842                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $805.00
          Preferred Services Building                                           Contingent
          Maintenance, Inc.                                                     Unliquidated
          PO Box 221608                                                         Disputed
          Sacramento, CA 95822
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Reed C. Ferrick DMD Pension and                                       Contingent
          Profit Sharing Plan 401-K                                             Unliquidated
          4762 Devonshire Place                                                 Disputed
          Santa Rosa, CA 95403
                                                                                              Notice only
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             1.2092% interest in12th & K St. Mall Partners, LLC which owns property at
          Last 4 digits of account number                                    1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $269.70
          Rex Moore                                                             Contingent
          6001 Outfall Circle                                                   Unliquidated
          Sacramento, CA 95828                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richard & Leslie Breiman, Trustees                                    Contingent
          of the Breiman Living Trust                                           Unliquidated
          225 Valley Oaks Drive                                                 Disputed
          Alamo, CA 94507
                                                                                              Notice only
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             3.4550% interest in12th & K St. Mall Partners, LLC which owns property at
          Last 4 digits of account number                                    1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,756.33
          Rico's Heating & Air                                                  Contingent
          1731 Howe Ave #578                                                    Unliquidated
          Sacramento, CA 95825                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ricoh USA, Inc.                                                       Contingent
          Wells Fargo Vendor, Financial Serv.                                   Unliquidated
          PO Box 650073                                                         Disputed
          Dallas, TX 75265-0073
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $167.50
          River City Equipment Co., Inc.                                        Contingent
          2419 Sellers Way                                                      Unliquidated
          West Sacramento, CA 95691                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $134.85
          RMI Systems                                                           Contingent
          6001 Outfall Circle                                                   Unliquidated
          Sacramento, CA 95828                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Robert W. Clippinger                                                  Contingent
          Living Trust UTD 2/24/16                                              Unliquidated
          4910 W 1st Street                                                     Disputed
          Los Angeles, CA 90004
                                                                                               Notice only
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             81.4775% interest in12th & K St. Mall Partners, LLC which owns property
          Last 4 digits of account number                                    at 1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $542.69
          Robert W. Clippinger                                                  Contingent
          4910 W 1st Street                                                     Unliquidated
          Los Angeles, CA 90004                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronald M. Tarbell                                                     Contingent
          3 Compass                                                             Unliquidated
          Newport Coast, CA 92657                                               Disputed
          Date(s) debt was incurred
                                                                                              Notice only
                                                                             Basis for the claim:
          Last 4 digits of account number                                    7.2938% interest in12th & K St. Mall Partners, LLC which owns property at
                                                                             1020 12th St., Sacramento, CA
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 12
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            Case 2:22-bk-10061-BR                             Doc 21 Filed 01/20/22 Entered 01/20/22 20:08:29                                         Desc
                                                              Main Document    Page 24 of 40
 Debtor       12th & K St. Mall Partners, LLC                                                         Case number (if known)            2:22-bk-10061-BR
              Name

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sacramento County                                                     Contingent
          PO Box 839                                                            Unliquidated
          Sacramento, CA 95812-0839                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,543.09
          Schindler Elevator Corp.                                              Contingent
          1329 N Market Blvd., Ste. 120                                         Unliquidated
          Sacramento, CA 95834-2941                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $600.00
          Sida's Cleaning Services, LLC                                         Contingent
          3055 Great Falls Way                                                  Unliquidated
          Sacramento, CA 95826                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Simas Floor Company, Inc.                                             Contingent
          3550 Power Inn Road                                                   Unliquidated
          Sacramento, CA 95826                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,441.36
          SMUD                                                                  Contingent
          PO Box 15830                                                          Unliquidated
          Sacramento, CA 95852-0830                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $610.00
          TJ Elevator Service                                                   Contingent
          PO Box 246270                                                         Unliquidated
          Sacramento, CA 95820                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,436.12
          Turton Commercial Real Estate                                         Contingent
          1525 Ridge Creek Way                                                  Unliquidated
          Roseville, CA 95661                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 12
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 Debtor       12th & K St. Mall Partners, LLC                                                         Case number (if known)            2:22-bk-10061-BR
              Name

 3.67      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $145.00
           Tyana D. Lewis                                                       Contingent
           781 Elder Drive                                                      Unliquidated
           West Sacramento, CA 95605                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $840.14
           U.S. Bank Equipment Finance                                          Contingent
           PO Box 790448                                                        Unliquidated
           Saint Louis, MO 63179-0448                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Valet Living                                                         Contingent
           100 S. Ashley Drive, Ste. 700                                        Unliquidated
           Tampa, FL 33602                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $120.00
           VZ Plumbing                                                          Contingent
           3637 Kodiak Way                                                      Unliquidated
           Antelope, CA 95843                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services rendered
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.71      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,076.67
           Waste Management                                                     Contingent
           PO Box 541065                                                        Unliquidated
           Los Angeles, CA 90054-1065                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                           273.55
 5b. Total claims from Part 2                                                                            5b.   +    $                       272,449.28

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          272,722.83




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 12 of 12
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                                                              Main Document    Page 26 of 40
 Fill in this information to identify the case:

 Debtor name         12th & K St. Mall Partners, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:22-bk-10061-BR
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Tenant lease ends
             lease is for and the nature of               7/31/2022
             the debtor's interest

                  State the term remaining
                                                                                     Accurate Controls
             List the contract number of any                                         1020 12th Street #312
                   government contract                                               Sacramento, CA 95814


 2.2.        State what the contract or                   Tenant lease ends
             lease is for and the nature of               8/31/2022
             the debtor's interest

                  State the term remaining
                                                                                     Ai T. Le
             List the contract number of any                                         1020 12th Street #315
                   government contract                                               Sacramento, CA 95814


 2.3.        State what the contract or                   Tenant lease ends
             lease is for and the nature of               7/31/2022
             the debtor's interest

                  State the term remaining
                                                                                     Akaijah J. Hernandez
             List the contract number of any                                         1020 12th Street #305
                   government contract                                               Sacramento, CA 95814


 2.4.        State what the contract or                   Month to month lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Angela Tate
             List the contract number of any                                         1020 12th Street, Ste. 202
                   government contract                                               Sacramento, CA 95814




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 5
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 Debtor 1 12th & K St. Mall Partners, LLC                                                      Case number (if known)   2:22-bk-10061-BR
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Tenant lease for 222 &
             lease is for and the nature of               223 ends 4/30/2022
             the debtor's interest
                                                                                       California Association of Local
                  State the term remaining                                             Agency Formation Commission
                                                                                       Pamela Miller
             List the contract number of any                                           1020 12th Street, Ste. 222
                   government contract                                                 Sacramento, CA 95814


 2.6.        State what the contract or                   Tenant lease ends
             lease is for and the nature of               2/28/22
             the debtor's interest

                  State the term remaining
                                                                                       Daniil Domozhirov
             List the contract number of any                                           1020 12th Street #401
                   government contract                                                 Sacramento, CA 95814


 2.7.        State what the contract or                   Tenant lease ends
             lease is for and the nature of               10/1/2026
             the debtor's interest

                  State the term remaining                                             EllaJack, Inc.
                                                                                       Josh Nelson
             List the contract number of any                                           2225 Hurley Way, Ste. 101
                   government contract                                                 Sacramento, CA 95825


 2.8.        State what the contract or                   Month to month lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Herb A. Kelly
             List the contract number of any                                           1020 12th Street #306
                   government contract                                                 Sacramento, CA 95814


 2.9.        State what the contract or                   Month to month lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       Holly Kroetz
             List the contract number of any                                           1020 12th Street #309
                   government contract                                                 Sacramento, CA 95814


 2.10.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               6/30/22
             the debtor's interest

                  State the term remaining                                             James A. Thuenwachter
                                                                                       1020 12th Street #303
             List the contract number of any                                           Sacramento, CA 95814
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 5
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 Debtor 1 12th & K St. Mall Partners, LLC                                                    Case number (if known)   2:22-bk-10061-BR
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.11.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               6/30/22
             the debtor's interest

                  State the term remaining
                                                                                     Jesus R. Ortiz
             List the contract number of any                                         1020 12th Street #402
                   government contract                                               Sacramento, CA 95814


 2.12.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               8/31/22
             the debtor's interest

                  State the term remaining
                                                                                     Johnny Flores
             List the contract number of any                                         1020 12th Street #302
                   government contract                                               Sacramento, CA 95814


 2.13.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Jonathan Daniel Arambel
             List the contract number of any                                         1020 12th Street, Ste. 200
                   government contract                                               Sacramento, CA 95814


 2.14.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               12/31/22
             the debtor's interest

                  State the term remaining
                                                                                     Joshua B. Newman
             List the contract number of any                                         1020 12th Street #315
                   government contract                                               Sacramento, CA 95814


 2.15.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               8/31/22
             the debtor's interest

                  State the term remaining
                                                                                     Lauren Lockhart
             List the contract number of any                                         1020 12th Street #405
                   government contract                                               Sacramento, CA 95814


 2.16.       State what the contract or                   Month to month lease
             lease is for and the nature of                                          Lawrence A. Percivalle
             the debtor's interest                                                   1020 12th Street #310
                                                                                     Sacramento, CA 95814
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 3 of 5
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 Debtor 1 12th & K St. Mall Partners, LLC                                                    Case number (if known)   2:22-bk-10061-BR
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               5/31/22
             the debtor's interest

                  State the term remaining
                                                                                     Matthew H. Klein
             List the contract number of any                                         1020 12th Street #313
                   government contract                                               Sacramento, CA 95814


 2.18.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               6/30/22
             the debtor's interest

                  State the term remaining
                                                                                     Mayur Roa
             List the contract number of any                                         1020 12th Street #403
                   government contract                                               Sacramento, CA 95814


 2.19.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               10/31/22
             the debtor's interest

                  State the term remaining
                                                                                     Morgan M. Dewitt
             List the contract number of any                                         1020 12th Street #407
                   government contract                                               Sacramento, CA 95814


 2.20.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               1/30/22
             the debtor's interest

                  State the term remaining
                                                                                     Pedro Carrilo
             List the contract number of any                                         1020 12th Street #406
                   government contract                                               Sacramento, CA 95814


 2.21.       State what the contract or                   Month to month lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Peter S. Kearney
             List the contract number of any                                         1020 12th Street #308
                   government contract                                               Sacramento, CA 95814




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 4 of 5
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 Debtor 1 12th & K St. Mall Partners, LLC                                                    Case number (if known)   2:22-bk-10061-BR
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.22.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               10/10/23
             the debtor's interest

                  State the term remaining
                                                                                     Prentiss Law
             List the contract number of any                                         1020 12th Street, Ste. 225
                   government contract                                               Sacramento, CA 95814


 2.23.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               7/31/22
             the debtor's interest

                  State the term remaining                                           R. Douglas, LLC
                                                                                     Ryan D. Hammonds
             List the contract number of any                                         1020 12th Street, Ste. 112
                   government contract                                               Sacramento, CA 95814


 2.24.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               9/23/24
             the debtor's interest

                  State the term remaining                                           The Karmic Leaf, LLC
                                                                                     Loren Qualls
             List the contract number of any                                         1131 K Street, Ste. 110
                   government contract                                               Sacramento, CA 95814


 2.25.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               7/31/22
             the debtor's interest

                  State the term remaining
                                                                                     Tyler Colin
             List the contract number of any                                         1020 12th Street #404
                   government contract                                               Sacramento, CA 95814


 2.26.       State what the contract or                   Tenant lease ends
             lease is for and the nature of               2/22/22
             the debtor's interest
                                                                                     University of California
                  State the term remaining                                           Student Association
                                                                                     Attn: Anais Lieu
             List the contract number of any                                         1020 12th Street, Ste. 227
                   government contract                                               Sacramento, CA 95814




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         12th & K St. Mall Partners, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:22-bk-10061-BR
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         12th & K St. Mall Partners, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         2:22-bk-10061-BR
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          TBA
       From 1/01/2022 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                          TBA
       From 1/01/2021 to 12/31/2021
                                                                                                   Other


       For year before that:                                                                       Operating a business                                          TBA
       From 1/01/2020 to 12/31/2020
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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 Debtor       12th & K St. Mall Partners, LLC                                                           Case number (if known) 2:22-bk-10061-BR



       Creditor's Name and Address                                          Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               TBA                                                                                                                Secured debt
                                                                                                                                   Unsecured loan repayments
                                                                                                                                   Suppliers or vendors
                                                                                                                                   Services
                                                                                                                                   Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    TBA


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Clippinger Investment                             Eviction                   Superior Court of California                 Pending
               Properties Inc. v Jesus R Ortiz                                              County of Sacramento                         On appeal
               Court has not yet assigned a
                                                                                                                                         Concluded
               case number

       7.2.    Clippinger Investment                             Eviction                   Superior Court of California                 Pending
               Properties Inc. v The Karmic                                                 County of Sacramento                         On appeal
               Leaf, LLC
                                                                                                                                         Concluded
               Court has not yet assigned a
               case number

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
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    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     RESNIK HAYES MORADI, LLP.
                 17609 Ventura Blvd.
                 Ste 314
                 Encino, CA 91316                                    Attorney Fees $20,000 plus $1,717 filing fee              1/6/2022                   $20,000

                 Email or website address
                 matt@rhmfirm.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
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           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     4901 W 1st Street                                                                                         8/18/2021 - present
                 Los Angeles, CA 90004

       14.2.     627 N. Larchmont Blvd.                                                                                    12/30/2020 - 8/17/2021
                 Los Angeles, CA 90004

       14.3.     30012 Ivy Glenn Drive, Suite 200                                                                          2005 - 12/2/2020
                 Laguna Niguel, CA 92677

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    12th & K St. Mall Partners, LLC                  Real Estate - Rental                             EIN:         XX-XXXXXXX
             4910 W 1st Street
             Los Angeles, CA 90004                                                                             From-To      11/12/2003 - present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Valencia Tax Group                                                                                                         2019 - present
                    Ahmed Mohammed, CPA
                    2500 Ave Stanford, #126
                    Valencia, CA 91355

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?


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            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Robert W. Clippinger                           Living Trust UTD 2/24/16                            Managing Member                       81.4775%
                                                      4910 W 1st Street                                                                         interst
                                                      Los Angeles, CA 90004
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ronald M. Tarbell                              3 Compass                                           Member                                7.2938%
                                                      Newport Coast, CA 92657                                                                   interest

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard & Leslie Breiman,                      of the Breiman Living Trust                         Member                                3.4550%
       Trustees                                       225 Valley Oaks Drive                                                                     interest
                                                      Alamo, CA 94507
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       David L Gilbert & Deborah L                    25021 Adelanto                                      Member                                1.7275%
       Gilbert                                        Laguna Niguel, CA 92677                                                                   interest

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Daniel & Julie Gray Trustees                   of the Gray Living Trust 4/26/07                    Member                                1.7275 %
                                                      17 N. Pasture                                                                             interest
                                                      Westport, CT 06880
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Leslie R Olson, Trustee of the                 Olson Family Trust DTD 1/3/2002                     Member                                1.092 %
                                                      29 Hancock                                                                                interest
                                                      Laguna Niguel, CA 92677
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John A & Sheila D.                             Trustees of the Valenzuela Family                   Member                                0.8637%
       Valenzuela                                     Trust DTD 9/12/96                                                                         interest
                                                      9 Cort Rivera
                                                      San Clemente, CA 92673
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Reed C. Ferrick DMD                            Profit Sharing Plan 401-K                           Member                                0.8637%
       Pension and                                    4762 Devonshire Place                                                                     interst
                                                      Santa Rosa, CA 95403
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Daniel A Bornstein& Linda                      Trustee of the Daneil & Linda                       Member                                0.5182%
       Bornstein                                      Bornstein Living Trust DTD 2.9.1996                                                       interest
                                                      5913 Featherlight Place
                                                      Santa Rosa, CA 95409
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Maureen Argon                                  40 E Chicago Avenue#148                             Member                                0.4319%
                                                      Chicago, IL 60611                                                                         interest

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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mitch Argon                                    40 E Chicago Avenue#148                             Member                                0.4319%
                                                      Chicago, IL 60611                                                                         interest



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 TBA
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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___________________________________




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Fill in this information to identify the case:
Debtor name           12th & K St. Mall Partners, LLC

United States Bankruptcy Coud for the:                    CENTRAL DISTRICT OF CALIFORNIA

Case number        (if known)   2:22-bk-10061-BR
                                                                                                                                     Q Check if this is an
                                                                                                                                         amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                        04119
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

iriit        Signature and Declaration

     WARNING Bankruptcy fraud is a serious crime. Making a false statement, concealing property or cbtaining money or property by fraud in
                     --




     connection with a bankruptcy case can result in flnes up to $500,000 or imprsonment for up to 20 yearS. or both
     IS U.S C. § 152, 1341, 1519. and 3571.

     I have examined the information in this Statement of Financial Affairs a-Id any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Execute       n       Jayjary 20, 2022

                                                                              Robert W. Clippirger
Sifature          individual signing on behalf of the debtor                  Printed nam.e

 PoThon or relationship to debtor             Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
• No
fl Yes




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